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UNITED STATES OF AMERICA,

Plaintiff,
CR. NO. 04-20463-Ma

VS.

TIMOTHY VO ,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on Merch 25, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., with a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period fronm March. 25, 2005 through May' 13, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this l ` day of April, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet in compI'=ance
with Fiu|e 55 and/or 32(b) FRCrP on 0/2/”@

 

   

  

 
 

UNITED S`TATE DRISTIC COURT - WETERN D'S'TRCT OFTENNESSEE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20463 Was distributed by faX, mail, or direct printing on
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lack McNeil

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Honorable Samuel Mays
US DISTRICT COURT

